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                     UNITED STATES DISTRICT COURT
           FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.1.1
                                Eastern Division

Howard Cohan
                                   Plaintiff,
v.                                                      Case No.: 1:16−cv−02001
                                                        Honorable John Z. Lee
Bask Development, Inc.
                                   Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Wednesday, February 1, 2017:


         MINUTE entry before the Honorable John Z. Lee: Pursuant to plaintiff's notice of
voluntary dismissal, this case is dismissed with prejudice. The status hearing set for 2/2/17
is stricken. Civil case terminated. Mailed notice(ca, )




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
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